                                UNITED STATE DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


SEAN KEOHAN,

                  Plaintiff,

        v.
                                                          Civil Action No. 4:19-cv-10288-TSH
BOSTON GLOBE MEDIA PARTNERS, LLC
SEVERANCE PAY PLAN, RICH FORD as PLAN
ADMINISTRATOR, BOSTON GLOBE MEDIA
PARTNERS, LLC, and JOHN W. HENRY,

                  Defendants.


             STIPULATION AND ORDER OF DISMISSAL WITH PREJUDICE

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Sean Keohan and

Defendants Boston Globe Media Partners, LLC, the Boston Globe Media Partners, LLC

Severance Pay Plan, Rich Ford as Plan Administrator, and John W. Henry, by and through their

respective undersigned counsel, hereby give notice that the Parties have stipulated and agreed to

voluntarily dismiss the above-captioned matter with prejudice, with each party to bear its own

costs and fees.

Date: May 17, 2019                                Date: May 17, 2019

SHERIN & LODGEN LLP                               PROSKAUER ROSE LLP


/s/ David I. Brody___________________             /s/ Russell L. Hirschhorn________________
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bjmacdonough@sherin.com                           Counsel for Defendants
Counsel for Plaintiff




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So Ordered:



  /s/ Timothy S. Hillman   5/17/19
_______________________________________
Honorable Timothy S. Hillman, U.S.D.J




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